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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                               Date: September 3, 2014
Court Reporter: Tammy Hoffschildt                             Interpreter: n/a
Probation Officer: n/a

CASE NO. 13-cr-00473-RM

Parties                                                       Counsel

UNITED STATES OF AMERICA,                                     Pegeen Rhyne

            Plaintiff,

v.

1. GARY SNISKY,                                               Robert Pepin

            Defendant.


                                 COURTROOM MINUTES

MOTIONS HEARING
COURT IN SESSION:       9:29 a.m.
Appearances of counsel. Defendant is present on bond.

As to Defendant’s Motion to Suppress Statements (Doc. 50, filed 5/30/14), Government
calls Special Agent Kate Funk.

9:31 a.m.       Government’s witness, Special Agent Kate Funk, is sworn and examined.

9:41 a.m.       Cross-examination of Special Agent Funk.

10:12 a.m.      Special Agent Funk is questioned by the Court.

10:13 a.m.      Redirect examination of Special Agent Funk.

10:15 a.m.      Witness excused.

10:16 a.m.      Government’s witness, Special Agent Ron Loecker, is sworn and
                examined.
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10:21 a.m.    Cross-examination of Special Agent Loecker.

10:34 a.m.    Redirect examination of Special Agent Loecker.

10:34 a.m.    Witness excused.

Government’s Exhibits 1 and 2 are offered and admitted.

Government rests.

ORDERED: Counsel to retain exhibits throughout the completion of the proceeding and
         any subsequent appeals.

10:36 a.m.    Defendant’s witness, Gary Snisky, is sworn and examined.

10:56 a.m.    Cross-examination of Gary Snisky.

11:17 a.m.    Redirect examination of Gary Snisky.

11:18 a.m.    Witness is excused.

Defendant rests.

11:18 a.m.    Court in recess.

11:24 a.m.    Court in session.

Counsel present argument regarding Defendant’s Motion to Suppress Statements (Doc.
50, filed 5/30/14).

Court’s findings.

ORDERED: Defendant’s Motion to Suppress Statements (Doc. 50, filed 5/30/14) is
         DENIED.

Discussion held and argument given regarding Defendant’s Motion for James Hearing
(Doc. 43, filed 5/30/14), Defendant’s Motion for Pretrial Notice of 404(b) Evidence (Doc.
47, filed 5/30/14), Defendant’s Motion for Rule 806 Impeachment Evidence (Doc. 45, filed
5/30/14), Defense Motion for Expert Disclosure (Doc. 46, filed 5/30/14), Defendant’s
Motion for Bill of Particulars (Doc. 49, filed 5/30/14), Defendant’s Motion to Dismiss –
Duplicity (Doc. 44, filed 5/30/14), and Defendant’s Motion to Strike Surplusage in
Indictment (Doc. 48, filed 5/30/14).

Court’s findings.
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ORDERED: Defendant’s Motion for James Hearing (Doc. 43, filed 5/30/14) is taken
         under advisement.

            Defendant’s Motion for Pretrial Notice of 404(b) Evidence (Doc. 47, filed
            5/30/14) is DENIED as moot as stated on the record. Defendant’s counsel
            shall have to and including September 22, 2014, to file any objection to the
            matters that have been proffered as potential co-conspirator statements.

            Defendant’s Motion for Rule 806 Impeachment Evidence (Doc. 45, filed
            5/30/14) is GRANTED as stated on the record.

            Defense Motion for Expert Disclosure (Doc. 46, filed 5/30/14) is GRANTED.
            Government shall disclose any experts on or before September 22, 2014.
            Defendant shall disclose any experts on or before October 13, 2014.

            Defendant’s Motion for Bill of Particulars (Doc. 49, filed 5/30/14) is DENIED
            as stated on the record.

            Defendant’s Motion to Dismiss – Duplicity (Doc. 44, filed 5/30/14) is
            DENIED without prejudice as stated on the record.

            Defendant’s Motion to Strike Surplusage in Indictment (Doc. 48, filed
            5/30/14) is DENIED without prejudice as stated on the record.

ORDERED: Bond continued.

COURT IN RECESS:         12:03 p.m.
Total in court time:     2:28
Hearing concluded
